             Case 8:19-cr-00181-PX Document 53 Filed 02/25/21 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. PX-19-181
                                                *
 RONDELL HENRY,                                 *
                                                *
                Defendant                       *
                                                *
                                             *******

                                             ORDER

       On April 4, 2019, the defendant was charged by criminal complaint with one count of

interstate transportation of a stolen vehicle, in violation of 18 U.S.C. § 981(a)(1)(C). He made his

initial appearance on the same date. ECF No. 1, 4. On April 9, 2019, the defendant was ordered

detained pursuant to an order of the court granting the Government’s motion for detention pending

trial. ECF No. 10, 12. The defendant was housed initially at the Chesapeake Detention Facility

(“CDF”).

       On April 10, 2019, a federal grand jury returned an indictment in the above-captioned

matter, charging the defendant with one count of interstate transportation of a stolen vehicle, in

violation of 18 U.S.C. § 981(a)(1)(C). ECF No. 13. On April 29, 2019, the defendant made his

initial appearance on the indictment, an arraignment was held, and the defendant entered a plea of

not guilty. ECF No. 29.

       On August 28, 2019, a federal grand jury returned a two-count superseding indictment

charging the defendant with attempting to provide material support and resources to a foreign

terrorist organization, in violation of 18 U.S.C. § 2239B, and interstate transportation of a stolen

vehicle, in violation of 18 U.S.C. § 2312. The defendant has yet to have an initial appearance or be
             Case 8:19-cr-00181-PX Document 53 Filed 02/25/21 Page 2 of 4



arraigned on the superseding indictment.

        Defense counsel petitioned the Court to order a psychiatric exam to determine whether the

defendant was competent to stand trial. (ECF No. 34). The Court granted the defense counsel’s

request by an order dated October 3, 2019. (ECF No. 39).

        The ordered evaluation occurred at the Federal Detention Center, SeaTac in SeaTac,

Washington, a Bureau of Prisons (“BOP”) facility. Based on the evaluations and conclusions of a

forensic psychologist, the parties agreed that the defendant was not competent to proceed with trial

at this time and that the Court should find by a preponderance of the evidence that the defendant is

presently incompetent. Consistent with the forensic psychologist’s conclusion, the parties also

agreed that formal competency restoration procedures at a Federal Medical Center should be

initiated.

        When “the court finds by a preponderance of the evidence that the defendant is presently

suffering from a mental disease or defect rendering him mentally incompetent to the extent that he

is unable to understand the nature and consequences of the proceedings against him or to assist

properly in his defense, the court shall commit the defendant to the custody of the Attorney General.”

18 U.S.C. § 4241(d). The defendant is then hospitalized at a BOP facility “for such a reasonable

period of time, not to exceed four months, as is necessary to determine whether there is a substantial

probability that in the foreseeable future he will attain the capacity to permit the proceedings to go

forward.” 18 U.S.C. § 4241(d)(1).

        This Court held a hearing on February 28, 2020. The defendant appeared in person with the

assistance of defense counsel. Based on the report of the forensic psychologist, the consent of the

parties, and any additional information from the hearing conducted by this Court on February 28,

2020, this Court found by a preponderance of the evidence that the defendant presently was not



                                                -2-
           Case 8:19-cr-00181-PX Document 53 Filed 02/25/21 Page 3 of 4



competent to proceed to trial. Accordingly, the defendant was remanded for a period of no more

than four months to the custody of the Attorney General for placement in a suitable BOP facility to

determine whether there was a substantial probability that in the foreseeable future he would attain

the capacity to permit the proceedings to go forward. The Court also recommended that, to the extent

possible, BOP initiate formal competency restoration procedures at a Federal Medical Center. The

Court entered an order documenting its findings, ruling, and recommendation at ECF No. 44 on

February 28, 2020.

       Shortly after the Court entered its order, the effects of the COVID-19 pandemic reached the

Courthouse and court operations. The Court entered appropriate orders extending the time of the

defendant’s hospitalization and placement in BOP custody.

       On November 20, 2020, BOP forensic psychologist Brianna Grover submitted a report to the

Court in which she provides her opinion that the defendant “is currently suffering from a mental

disease or defect, namely delusional disorder, which renders him not competent to stand trial.”

Report at 15. Dr. Grover further noted that the defendant “is refusing psychotropic medication” and

requested “another 120-day evaluation and treatment period, pursuant to Title 18, U.S.C., Section

4241(d), to allow additional time to conduct interviews and encourage Mr. Henry to consider

psychotropic medication.” Report at 15.

       Counsel for the Government and the defendant have advised that they do not object to the

request for an additional requested hospitalization period, not to exceed four months. Accordingly,

consistent with 18 U.S.C. § 4241(d)(2)(A), and for the same reasons for the prior order issued under

that statute, the Court hereby orders that the defendant’s continued commitment to the custody of

the Attorney General for an additional reasonable period of hospitalization, not to exceed four

months, is appropriate to determine if continued psychiatric and psychological treatment will render



                                               -3-
           Case 8:19-cr-00181-PX Document 53 Filed 02/25/21 Page 4 of 4



the defendant competent to proceed.

       Furthermore, a status call in this case is scheduled for May 5, 2021, at 9:00 a.m.




              2/25/21                                  /S/
       Date                                 Hon. Paula Xinis
                                            United States District Judge




                                               -4-
